                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

            Plaintiff,

     v.
                                            Civil Action No. 24-0617 (TJK)
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT,

            Defendant.


 COMBINED REPLY IN FURTHER SUPPORT OF DEFENDANT’S MOTION FOR
SUMMARY JUDGMENT AND MEMORANDUM IN OPPOSITION TO PLAINTIFF’S
            CROSS-MOTION FOR SUMMARY JUDGMENT
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       Defendant U.S. Immigration and Customs Enforcement (“ICE” or “Defendant”)

respectfully submits this reply in further support of its motion for summary judgment (ECF No. 18,

“Motion”) and in opposition to Plaintiff John Doe’s cross-motion for summary judgment (ECF

No. 19, “Cross-Motion”).

                                       INTRODUCTION

       In its Motion, ICE demonstrated that it performed an adequate search for responsive

records, properly redacted the information withheld under Exemption 5 to the Freedom of

Information Act (“FOIA”), 5 U.S.C. § 552(b)(5), and released all properly segregable information

responsive to Plaintiff’s FOIA request. In his Cross-Motion, Plaintiff disputes the adequacy of the

search because of Defendant’s previous refusal to conduct a search of the Government Information

Law Division. Id. at 12-13. Defendant, however, has now conducted a search of the Government

Information Law Division, thereby mooting any dispute over the adequacy of the search for

records responsive to Plaintiff’s FOIA request. See Supplemental Declaration of Fernando Pineiro

(“Pineiro Supp. Decl.”) ¶¶ 6-8. Yet, Plaintiff continues to challenge the propriety of Defendant’s

withholdings under Exemption 5 and the adequacy of its segregability analysis. Pl.’s Cross-Mot.

at 14-28. But, for the reasons provided in Defendant’s Motion and below, the Court should grant

summary judgment to Defendant.

                                         ARGUMENT

I.     Defendant Appropriately Withheld Information Pursuant to Exemption 5.

       Plaintiff contends that the information Defendant has withheld pursuant to Exemption 5’s

deliberative process privilege is neither pre-decisional nor deliberative, and therefore should be

disclosed. Pl.’s Cross-Mot. at 22–26. Further, Plaintiff asserts that Defendant has improperly

withheld information under Exemption 5’s attorney-client privilege. Plaintiff also argues that

Defendant has failed to establish any foreseeable harm that would ensue because of disclosure,
and therefore the aforesaid information, whether withheld under the deliberative process privilege

or the attorney-client privilege, should be disclosed. Plaintiff is entirely incorrect when it claims

that Exemption 5 privileges do not apply to Defendant’s withholdings. Id.

       A.      Defendant Has Shown That the Records Withheld Under Exemption 5 Are
               Connected to a Decision-Making Process Under the Deliberative Process
               Privilege.

       As an initial matter, for agency information to be properly withheld pursuant to the

deliberative process privilege, it must be both pre-decisional and deliberative. Abtew v. Dep’t of

Homeland Sec., 808 F.3d 895, 898 (D.C. Cir. 2015) (citing Coastal States Gas Corp. v. Dep’t of

Energy, 617 F.2d 854, 866 (D.C. Cir. 1980)). Withholdings under the deliberative process are

deliberative if they reflect the give-and-take of the consultative process. Machado Amadis v. Dep’t

of State, 971 F.3d 364, 370 (D.C. Cir. 2020) (internal quotation marks omitted). Moreover, a

document will be regarded as pre-decisional “if it precedes, in temporal sequence, the ‘decision’

to which it relates,” Abtew, 808 F.3d at 898. (citation omitted), or if it was “‘prepared in order to

assist an agency decisionmaker in arriving at his decision,’ rather than to support a decision already

made,” Petroleum Info. Corp. v. Dep’t of Interior, 976 F.2d 1429, 1434 (D.C. Cir. 1992) (quoting

Renegotiation Bd. v. Grumman Aircraft, 421 U.S. 168, 184 (1975)). Moreover, withholdings under

the deliberative process privilege are pre-decisional if they pertain to internal agency

communications regarding proposed policy recommendations. See Coastal States, 617 F.2d at 854

(holding that “recommendations, draft documents, proposals, suggestions, and other subjective

documents which reflect the personal opinions of the writer rather than the policy of the agency”

are pre-decisional); see also Arab Am. Inst. v. Off. of Mgmt. & Budget, Civ. A. No. 18-0871, 2020

WL 4698098, at *6–7 (D.D.C. Aug. 13, 2020) (holding same).

       Additionally, it is well-established that agencies are permitted to withhold purely factual

information contained in draft documents if such factual information is sufficiently integrated with


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the deliberative material subject to Exemption 5 withholding. Frontier Found. v. Dep’t of Just.,

739 F.3d 1, 13 (D.C. Cir. 2014) (finding that “context matters,” and here entire document,

including factual material, “‘reflects the full and frank exchange of ideas’” so that factual portions

“‘could not be released without harming the deliberative processes of the government’” (citation

omitted)); Quarles v. Dep’t of Navy, 893 F.2d 390, 392-93 (D.C. Cir. 1990) (withholding factual

material because it would expose agency’s decision-making process and chill future deliberations);

Horowitz v. Peace Corps, 428 F.3d 271, 277 (D.C. Cir. 2005) (protecting requested document

where the decisionmaker’s “thought processes are woven into document to such an extent” that

any attempt at segregating out information would reveal agency deliberations).

       Here, Plaintiff’s basic contention is that Defendant improperly withheld information under

the deliberative process privilege because Defendant purportedly “failed to meet its burden

because it has not identified a decision associated with the records it seeks to withhold.” Pl.’s

Cross-Mot. at 15. However, this is inaccurate. As demonstrated in the Supplemental Pineiro

Declaration, the information redacted under the deliberative process privilege is both pre-

decisional and deliberative in nature, consisting of e-mail records containing advice,

recommendations, and conclusions that ultimately informed Defendant’s determinations and

decisions. Pineiro Supp. Decl. ¶ 10. Moreover, despite Plaintiff’s conclusory contention that

Defendant has not adequately described the nature of the aforesaid determinations and decisions,

see Pl.’s Cross-Mot. at 14-17, Defendant has provided such information in the Vaughn Index

simultaneously filed with its Motion. See generally Vaughn Index (ECF No. 18-4). Accordingly,

Defendant’s Exemption 5 withholdings sufficiently relate to the pre-decisional process and

evidence deliberative discussions that qualify for redaction under the deliberative process

privilege.




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       B.      Defendant Has Shown That the Records Were Properly Withheld Under
               Exemption 5’s Attorney-Client Privilege.

       “The attorney-client privilege protects confidential communications from client to

attorney, and from attorney to client.” Pub. Emps. for Env’t Resp. v. EPA, 211 F. Supp. 3d 227,

230 (D.D.C. 2016). “Without protections for attorney-client communications, agency officials

might not share information with their counsel in the first place and would consequently be

deprived of sound legal advice.” Id. “The [attorney-client] privilege applies only to ‘[c]onfidential

disclosures by a client to an attorney made in order to obtain legal assistance,’ and to an attorney’s

‘communication [to the client] based on confidential information provided by the client[.]’” Id.

at 231 (citation omitted). “In this context, the ‘client’ is the agency and its officials.” Id. “And

those officials may be either ‘high-level agency personnel’ or ‘lower-echelon employees.’” Id.

       Here, Plaintiff argues that Defendant has improperly redacted information under

Exemption 5’s attorney-client privilege, because the withheld information has supposedly already

been released to Plaintiff’s counsel. Pl.’s Cross-Mot. at 18. Plaintiff also argues Defendant has

withheld information that exclusively consists of formulaic recitations of applicable law, as

opposed to any information that can qualify as exempt under the attorney-client privilege. Id. at 19.

But as an initial matter, it is notable that Plaintiff’s Cross-Motion provides no facts or evidence in

support of the aforesaid arguments, see generally id., and Defendant’s declarations—which are

entitled to “a presumption of good faith” under the law, SafeCard Servs., Inc. v. SEC, 692 F.2d

1197, 1200 (D.C. Cir. 1991)—confirm that the withheld information consists of “confidential legal

advice” and that “the confidential communications withheld under the attorney-client privilege

have not been disclosed to any third-party.” Pineiro Decl. (ECF No. 18-3) ¶ 42; see also Pineiro

Supp. Decl. ¶ 12. Accordingly, Defendant’s Exemption 5 withholdings qualify for redaction under

the attorney-client privilege.



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       C.      Defendant Has Adequately Demonstrated Foreseeable Harm in Support of Its
               Exemption 5 Withholdings.

       Finally, contrary to Plaintiff’s representations, disclosure of the information under

Exemption 5 would indeed result in foreseeable harm and ICE has provided sufficient details of

the withheld information and specified the harms that would result if the information was released.

Pineiro Supp. Decl. ¶¶ 13-16. Invariably, “[t]he degree of detail necessary to substantiate a claim

of foreseeable harm is context-specific.” Rosenberg v. Dep’t of Def., 442 F. Supp. 3d 240 (D.D.C.,

2020). And in this case, Defendant has carried its burden under the deliberative process privilege

and attorney-client privilege because it has provided “a focused and concrete demonstration of

why disclosure of the particular type of material at issue will, in the specific context of the agency

action at issue, actually impede those same agency deliberations going forward.” Reps. Comm.

for Freedom of the Press v. FBI, 3 F.4th 350, 370 (D.C. Cir. 2021); Pineiro Supp. Decl. ¶¶ 62–71.

       As explained in the Supplemental Pineiro Declaration, release of the withheld information

would, among other things, undermine “the integrity of the deliberative or decision-making

processes within the agency by exempting from mandatory disclosure opinions, conclusions, and

recommendations included within inter-agency or intra-agency documents[,]” see id. ¶ 16; “harm

the expression of candid opinions and the free and frank exchange of information among agency

personnel, which would result in a chilling effect on intra- and inter-agency communications[,]”

see id.; and “cause harm . . . because the public could potentially become confused regarding ICE’s

mission and law enforcement activities. See id. While Plaintiff is entitled to be dissatisfied with

Defendant’s explanations, “[g]iven the preliminary nature of the [withheld information], the

chilling effect of public disclosure is in some sense self-evident, and it is difficult to see how ICE

could have provided any additional explanation as to how disclosure of the draft will cause future




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agency communications to be chilled. Nat’l Immigr. Project of Nat’l Lawyers Guild v. ICE, Civ.

A. No. 17-2448 (APM), 2020 WL 5798429 (D.D.C. Sept. 29, 2020)

       Therefore, Defendant has identified specific harms that would result if information was

released to the public. See, e.g., Pineiro Supp. Decl. ¶ 10. Defendant’s declarations and Vaughn

indices satisfies its burden to meet the foreseeable harm standard. Accordingly, Defendants

respectfully request summary judgment with respect to its Exemption 5 withholdings in this case.

II.    Defendant Performed an Adequate Segregability Analysis.

       Finally, Plaintiff takes exception to the adequacy of Defendant’s segregability analysis.

Plaintiff contends that Defendant has not demonstrated with sufficient specificity why information

that it has withheld cannot be further segregated. Pl.’s Cross-Mot. at 25-28.

       But the Supplemental Pineiro Declaration reaffirms that Defendant conducted a “line-by-

line review” to identify reasonably segregable, non-exempt information. Pineiro Supp. Decl. ¶ 18.

Moreover, “in connection with that process, on September 9, 2024, the agency in good faith made

a supplemental, discretionary release of portions of 42 pages where it was determined additional

information could be released that was previously withheld under” Exemptions 5 and 7(E). Id.

Plaintiff has failed to produce any evidence to rebut the “good-faith presumption afforded” to

Defendant’s declarations. Wright v. Dep’t of Just., 121 F. Supp. 3d 171, 188 (D.D.C. 2015). As

such, this Court should find that Defendant’s segregability analysis is adequate and that it is

accordingly entitled to summary judgment in this case. See id. at 187 (“[a]n affidavit attesting to

the performance of a review of the documents and a Vaughn index describing each document

satisfies the FOIA’s segregability requirement”) (citing cases)).



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                                        CONCLUSION

       For the reasons set forth above, and those in Defendant’s moving papers, Defendant

respectfully requests that the Court enter summary judgment in its favor.

Date: December 4, 2024                          Respectfully submitted,
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